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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA

DAVID POSCHMANN,

                Plaintiff,
v.                                                              CASE NO.

RAMSHIVA HOTELS, LLC,

                Defendant.
______________________________________ /

                                            COMPLAINT

        Plaintiff, David Poschmann, by and through his undersigned counsel, hereby sues the

Defendant, RAMSHIVA HOTELS, LLC, for injunctive relief pursuant to the Americans With

Disabilities Act, 42 U.S.C. §12181, et seq. (the "ADA") and in support thereof states as follows:

                                          JURISDICTION

        1.      This court has subject-matter jurisdiction since this action arises pursuant to 28

U.S.C. § 1331 and §1343 and Plaintiffs claim arises under 42 U.S.C. §12181 et seq. based upon

Defendant's violations of Title III of the ADA.

                                               VENUE

        2.      Venue lies in this district pursuant to 28 U.S.C. § 1391(b) because the hotel,

whose reservation system is at issue herein, is located in this district.

                                              PARTIES

        3.     Plaintiff, David Poschmann, is an individual who is over eighteen years of age

and sui juris. Plaintiff is disabled as such term is defined by the ADA and is substantially limited

in performing one or more major life activities due to the amputation of his right leg in 2012.

Plaintiff uses a wheelchair to ambulate. Plaintiff drives his own specially equipped vehicle and

has a valid disabled parking permit from the Florida Department of Highway Safety and Motor
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Vehicles. Defendant's online hotel reservation system fails to comply with the requirements of

28 C.F.R. §36.302(e) and therefore Plaintiffs full and equal enjoyment of the goods, services,

facilities, privileges, advantages and/or accommodations offered thereon are restricted and

limited because of Plaintiff s disability and will be restricted in the future unless and until

Defendant is compelled to cure the substantive ADA violations contained on the hotel's online

reservation system. Plaintiff intends to visit the online reservation system for Defendant's hotel

in the near future to book a guest room and utilize the goods, services, facilities, privileges,

advantages and/or accommodations being offered and/or to test the online reservation system for

compliance with 28 C.F.R. §36.302(e).

        4.      Defendant is the owner and operator of the Knights Inn Sarasota, located at 5340

N. Tamiami Trail in Sarasota, Florida ("the Hotel"). The online reservation systems for the Hotel

are found at www.knightsinnsarasota.com and www.redlion.com/knights-inn/fl/sarasota/knights-

inn-sarasota.

                CLAIM FOR INJUNCTIVE RELIEF PURSUANT TO THE ADA

        5.      On July 26, 1990, Congress enacted the ADA explaining that the purpose o f the

ADA was to provide a clear and comprehensive national mandate for the elimination of

discrimination against individuals with disabilities and to provide clear, strong, consistent,

enforceable standards addressing said discrimination, invoking the sweep of congressional

authority in order to address the major areas of discrimination faced day-to-day by people with

disabilities to ensure that the Federal government plays a central role in enforcing the standards

set by the ADA. (42 U.S.C. § 123 01 (b)(l)-(4)).

       6.       Pursuant to the mandates of 42 U.S.C. §12134(a), on September 15, 2010, the

Department of Justice, Office o f the Attorney General, published revised regulations for Title III




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 of the Americans With Disabilities Act of 1990 in the Federal Register to implement the

 requirements of the ADA. Publi c accommodations, including places of lodging, were required to

 conform to these regulations on or before March 15, 2012.

          7.       On March 15, 2012, new regulations implementing Title III of the ADA took

 effect, imposing significant new obligations on inns, motels, hotels and other places of lodging.

 28 C.F.R. §36.302(e) states:

        "(1) Reservations made by places o f lodging. A public accommodation that owns, leases
(or leases to), or operates a place of lodging shall, with respect to reservations made by any
means, including by telephone, in-person, or through a third party -
(i) Modify its policies, practices, or procedures to ensure that individuals with disabilities can
make reservations for accessible guest rooms during the same hours and in the same manner
as individuals who do not need accessible rooms:
(ii) Identify and describe accessible features in the hotels and guest rooms offered through its
reservations service in enough detail to reasonably permit individuals with disabilities to assess
independently whether a given hotel or guest room meets his or her accessibility needs;1
(iii) Ensure that accessible guest rooms are held for use by individuals with disabilities until all
other guest rooms o f that type have been rented and the accessible room requested is the only
remaining room of that type;
(iv) Reserve, upon request, accessible guest rooms or specific types of guest rooms and ensure
that the guest rooms requested are blocked and removed from all reservations systems; and
(v) Guarantee that the specific accessible guest room reserved through its reservations service is
held for the reserving customer, regardless o f whether a specific room is held in response to
reservations made by others."
         8.        The Hotel is a place of public accommodation that Defendant, directly or

indirectly, owns and/or leases and/or operates pursuant to the ADA. The Hotel utilizes

Defendant's online reservation systems whereby potential patrons may reserve a guest room by


 1 The United States Department of Justice, in "28 C.F.R. Appendix A to Part 36, Guidance on Revisions to ADA
Regulation on Nondiscrimination on the Basis of Disability by Public Accommodations and Commercial Facilities",
provides a section-by-section analysis of 28 C.F.R. §36.302(e)(1). In its analysis and guidance, the Department of
Justice’s official comments state that "information about the Hotel should include, at a minimum, information about
accessible entrances to the hotel, the path of travel to guest check-in and other essential services, and the accessible
route to the accessible room or rooms. In addition to the room information described above, these hotels should
provide information about important features that do not comply with the 1991 Standards." An agency's
interpretation of its own regulations, such as the Department of Justice's interpretation of 28 C.F.R. §36.302(e)(1),
must be given "substantial deference" and "controlling weight" unless it is "plainly erroneous or inconsistent with
the regulation." Thomas Jefferson Univ. v. Shalala, 512 U.S. 504, 512, 114 S.Ct. 2381, 129 L,Ed.2d 405 (1994).


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the night. The reservation systems are subject to the requirements of 28 C.F.R.§ 36.302(e) and

Defendant is responsible for said compliance.

        9.      Most recently, during October, 2019 Plaintiff attempted to specifically identify

and book a guaranteed reservation for an accessible guest room at the Hotel but was unable to do

so due to Defendant's failure to comply with the requirements set forth in paragraph 7.

        10.    Plaintiff is an advocate of the rights of similarly situated disabled persons and,

pursuant to Houston v. MarodSupermarkets, Inc., 733 F.3d 1323 (11th Cir. 2013), is a "tester"

for the purpose of asserting his civil rights, monitoring, ensuring, and determining whether

places of public accommodation, including online reservation systems for places of lodging, are

in compliance with the ADA.

        11.    Defendant has discriminated against Plaintiff by denying him access to and full

and equal enjoyment of the goods, services, facilities, privileges, advantages and

accommodations offered at the Hotel through its online reservation systems due to the

substantive ADA violations contained thereon.

       12.     The ADA violations for the online reservation systems for Defendant's Hotel

consist of the following:

       a)      A failure of any policy, practice, or procedure ensuring that individuals with
               disabilities can make reservations for accessible guest rooms at the Hotel during
               the same hours and in the same manner as individuals who do not need accessible
               rooms;

       b)      A failure to identify and describe accessible features in the Hotel and
               guest rooms offered through the reservations service in enough detail to
               reasonably permit individuals with disabilities to assess independently whether
               the Hotel or specific guest rooms meets his or her accessibility needs;

       c)      A failure to ensure that accessible guest rooms at the Hotel are held for use by
               individuals with disabilities until all other guest rooms of that type have been
               rented and the accessible room requested is the only remaining room o f that type;




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          d)       A failure to reserve, upon request, accessible guest rooms or specific types of
                   guest rooms at the Hotel and ensure that the guest rooms requested are blocked
                   and removed from the reservations system; and

          e)       A failure to guarantee that the specific accessible guest room reserved through the
                   reservations service at the Hotel is held for the reserving customer, regardless of
                   whether a specific room is held in response to reservations made by others.
          13.      Plaintiff is without an adequate remedy at law and is suffering irreparable harm

and he reasonably anticipates that he will continue to suffer irreparable harm unless and until

Defendant is required to correct the ADA violations to the online reservation systems for its

Hotel and maintain its online reservation systems and accompanying policies in a manner that is

consistent with and compliant with the requirements of 28 C.F.R. §36.302(e).

          14.     Plaintiff has retained the undersigned counsel for the filing and prosecution of this

action and is entitled to recover reasonable attorneys’ fees, costs and expenses from Defendant,

including litigation expenses and costs pursuant to 42 U.S.C. §12205.

         15.      Pursuant to 42 U.S.C. § 12188(a), this Court is provided with authority to grant

injunctive relief to Plaintiff, including an Order compelling Defendant to implement policies,

consistent with the ADA, to accommodate the disabled, by requiring Defendant to alter and

maintain its online reservation systems in accordance with the requirements set forth in

paragraph 7 above.2

         WHEREFORE, Plaintiff, David Poschmann, requests that the Court issue a permanent

injunction enjoining Defendant from continuing its discriminatory practices, ordering Defendant



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  The injunction, to be meaningful and fulfill its intended purpose, should require Defendant to develop, and strictly
enforce, a policy requiring regular monitoring of its online reservation systems. As rates and classes of rooms
change at its hotel, and the number and type of beds, accommodations and amenities offered in the various room
types change from time to time, the availability of accessible rooms must be re-dispersed across these various price
points, classes, as well as across rooms with disparate features (2010 ADA Standard 224.5). In light of the
foregoing, in addition to regular ongoing website maintenance and to reflect physical changes at the Hotel, the
online reservation systems must continuously be updated to properly reflect and describe Defendant's compliance
with the substantive ADA Standards regarding accessible places of lodging in accordance with 28 C.F.R.
36.302(e)(1).


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to implement policies, consistent with the ADA, to accommodate the disabled, through requiring

Defendant to alter and maintain the online reservation systems for the Hotel in accordance with

the requirements set forth in paragraph 7 above, and awarding Plaintiff reasonable attorneys’

fees, litigation expenses, including expert fees, and costs.

                                                      s/Drew M. Levitt
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